    CaseCase 19-15210-ABADoc
         19-15210-ABA      Doc
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                                        05/28/19        Entered 05/01/19
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                                Proposed
                                  Document Order   Page  1 of
                                                 Page 1 of 2  2




         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY (CAMDEN)                                        Order Filed on May 28, 2019
         Caption in Compliance with D.N.J. LBR 9004-1(b)                        by Clerk
         RAS Citron, LLC                                                        U.S. Bankruptcy Court
                                                                                District of New Jersey
         Authorized Agent for Secured Creditor
         130 Clinton Road, Lobby B, Suite 202
         Fairfield, NJ 07004
         Telephone: 973-575-0707
         Facsimile: 973-404-8886


         Harold N. Kaplan HK0226
                                                                    Case No.:    19-15210-ABA
         In Re:
         Jill J Barbera                                             Chapter:       7
         aka Jill Barber
         aka Jill J. Sherako                                        Hearing Date: May 28, 2019
         aka Jill Jessica Sherako
                                                                    Judge:        Andrew B. Altenburg Jr.
         aka Jill Sherako,
                           Debtor.



                       Recommended Local Form:             ; Followed            Modified



                                              ORDER VACATING STAY

        The relief set forth on the following page, is hereby ORDERED.




DATED: May 28, 2019
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    Page 2
    Debtors:       Jill J Barbera
    Case No.:     19-15210-ABA
    Caption of Order: Order Vacating Stay
    ______________________________________________________________________________



           Upon the motion of Nationstar Mortgage LLC d/b/a Mr. Cooper, (“Secured Creditor”)
    under Bankruptcy Code section 362(d) for relief from the automatic stay as to certain property as
    hereinafter set forth, and for cause shown, it is

           ORDERED that the automatic stay is vacated to permit the movant to institute or resume
    and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to
    pursue Secured Creditor’s rights in regard to the following:

           ; Real property more fully described as:

           3704 Elberta Ln, Marlton, New Jersey 08053-1349.

           It is further ORDERED that Secured Creditor, its successors or assignees, may proceed
    with its rights and remedies under the terms of the subject mortgage and pursue its state court
    remedies including, but not limited to, taking the property to sheriff’s sale, in addition to
    potentially pursuing other loss mitigation alternatives, including, but not limited to, a loan
    modification, short sale, or deed-in-lieu of foreclosure. Additionally, any purchaser of the
    property at sheriff’s sale (purchaser’s assignee) may take any legal action for enforcement of its
    right to possession of the property.

       It is further ORDERED that Secured Creditor may join the Debtors and any trustee appointed
    in this case as defendants in its action(s) irrespective of any conversion to any other Chapter of
    the Bankruptcy Code.

       Secured Creditor shall serve this Order on the Debtor, any trustee, and any other party who
    entered an appearance on the motion.




                                                                                            19-15210-ABA
                                                                                                19-282310
                                                                                        Order Vacating Stay
